         Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 1 of 41




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

        v.                                          Case No. 21-cr-120-RCL

 SCOTT KEVIN FAIRLAMB,

             Defendant.

                     GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the Acting United States

Attorney for the District of Columbia, respectfully submits this sentencing memorandum in

connection with the above-captioned matter. For the reasons set forth herein, the government

requests that this Court sentence Scott Fairlamb to forty-four months’ incarceration, three years of

supervised release, $2,000 in restitution, a fine, and the mandatory $100 special assessment for

each count of conviction.

   I.         INTRODUCTION

        The defendant, Scott Fairlamb, participated in the January 6, 2021 attack on the United

States Capitol—a violent attack that forced an interruption of the certification of the 2020 Electoral

College vote count, threatened the peaceful transfer of power after the 2020 Presidential election,

injured more than one hundred law enforcement officers, and resulted in more than a million

dollars’ worth of property damage.

        Fairlamb, a former Mixed Martial Arts (“MMA”) fighter, joined the storming of the police

line on the West Terrace, obtaining a police baton, and screaming “What Patriots do? We fuckin’

disarm them and then we storm the fuckin’ Capitol!” Fairlamb then brandished that same police

baton while entering the U.S. Capitol through the Senate Wing Door, which had been kicked out
                                                1
          Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 2 of 41




by rioters who entered through a broken window, just one minute before Fairlamb’s entry. After

exiting the U.S. Capitol, Fairlamb aggressively followed a line of dramatically out-numbered

Metropolitan Police Department (“MPD”) officers, screaming vitriol at them as they attempted to

traverse the over-run Terrace. After isolating an MPD officer from his fellow officers, Fairlamb

shoved the officer and then punched his face shield. Two days after the riot, on January 8, Fairlamb

filmed a chilling video threatening future violence, stating, “they pulled the pin on the grenade,

and the blackout is coming. What a time to be a patriot,” and, immediately after being visited by

FBI agents on January 15, 2021, said that he would “go again” to the U.S. Capitol.

         The government recommends that the Court sentence Fairlamb to 44 months’

incarceration, which is within the advisory Guidelines’ range of 41-51 months, which the

government submits is the correct Guidelines calculation. A 44-month sentence reflects the gravity

of Fairlamb’s conduct, but also acknowledges his early admission of guilt.

   II.        FACTUAL BACKGROUND

         A.     The January 6, 2021 Attack on the Capitol

         On January 6, 2021, hundreds of rioters, Fairlamb among them, unlawfully broke into the

U.S. Capitol Building in an effort to disrupt the peaceful transfer of power after the November 3,

2020 presidential election. Many rioters attacked and injured law enforcement officers, sometimes

with dangerous weapons; they terrified congressional staff and others on scene that day, many of

whom fled for their safety; and they ransacked this historic building—vandalizing, damaging, and

stealing artwork, furniture, and other property. Although the facts and circumstances surrounding

the actions of each rioter who breached the U.S. Capitol and its grounds differ, each rioter’s actions

were illegal and contributed, directly or indirectly, to the violence and destruction that day. See


                                                  2
         Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 3 of 41




United States v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A mob isn't a

mob without the numbers. The people who were committing those violent acts did so because they

had the safety of numbers.”) (statement of Judge Chutkan).

       The day started out calmly enough. As set forth in the PSR and the Statement of Offense

incorporated into Fairlamb’s plea agreement, a joint session of Congress had convened at

approximately 1:00 p.m. at the U.S. Capitol. Members of the House of Representatives and the

Senate were meeting in separate chambers to certify the vote count of the Electoral College of the

November 3, 2020 Presidential election. By approximately 1:30 p.m., the House and Senate

adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was

present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued, a large crowd gathered outside the U.S. Capitol. Temporary

and permanent barricades were in place around the exterior of the building, and U.S. Capitol Police

were present and attempting to keep the crowd away from the building and the proceedings

underway inside. At approximately 2:00 p.m., certain individuals forced their way over the

barricades and past the officers, and the crowd advanced to the exterior of the building. Members

of the crowd did not submit to standard security screenings or weapons checks by security officials.

       The vote certification proceedings were still underway, and the exterior doors and windows

of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police

attempted to keep the crowd from entering; however, shortly after 2:00 p.m., individuals in the

crowd forced their way in, breaking windows and assaulting law enforcement officers along the

way, while others in the crowd cheered them on.

       At approximately 2:20 p.m., members of the House of Representatives and the Senate,


                                                 3
         Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 4 of 41




including the President of the Senate, Vice President Pence, were forced to evacuate the chambers.

All proceedings, including the joint session, were effectively suspended. The proceedings resumed

at approximately 8:00 p.m. after the building had been secured. Vice President Pence remained in

the United States Capitol from the time he was evacuated from the Senate Chamber until the

session resumed. See Statement of Offense ¶¶ 2-9; PSR ¶¶ 18-24.

             Injuries and Property Damage Caused by the January 6, 2021 Attack

       The D.C. Circuit has observed that “the violent breach of the Capitol on January 6 was a

grave danger to our democracy.” United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021).

Members of this Court have similarly described it as “a singular and chilling event in U.S. history,

raising legitimate concern about the security—not only of the Capitol building—but of our

democracy itself.” United States v. Cua, No. 21-cr-107, 2021 WL 918255, at *3 (D.D.C. Mar. 10,

2021); see also United States v. Fox, No. 21-cr-108 (D.D.C. June 30, 2021) (Doc. 41, Hrg. Tr. at

14) (“This is not rhetorical flourish. This reflects the concern of my colleagues and myself for what

we view as an incredibly dangerous and disturbing attack on a free electoral system.”); United

States v. Chrestman, No. 21-mj-218, 2021 WL 765662, at *7 (D.D.C. Feb. 26, 2021) (“The actions

of this violent mob, particularly those members who breached police lines and gained entry to the

Capitol, are reprehensible as offenses against morality, civic virtue, and the rule of law.”).

       In addition, the rioters injured more than a hundred members of law enforcement. See Staff

of Senate Committees on Homeland Security and Governmental Affairs and on Rules and

Administration Report, Examining the Capitol Attack: A Review of the Security, Planning, and

Response     Failures    on    January     6    (June     7,   2021),     at   29,    available    at

https://www.hsgac.senate.gov/imo/media/doc/HSGAC&RulesFullReport_ExaminingU.S.Capitol


                                                  4
         Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 5 of 41




Attack.pdf (describing officer injuries). Some of the rioters wore tactical gear and used dangerous

weapons and chemical irritants during hours-long hand-to-hand combat with law enforcement

officers. See id. at 27-30.

        Moreover, the rioters inflicted significant emotional injuries on law enforcement officers

and others on scene that day who feared for their safety. See id; see also Architect of the Capitol,

J. Brett Blanton, Statement before the House of Representatives Committee on House

Administration (May 19, 2021), available at https://www.aoc.gov/sites/default/files/2021-

05/AOC_Testimony_CHA_Hearing-2021-05-19.pdf (describing the stress suffered by Architect

of the Capitol employees due to the January 6, 2021, attack).

        Finally, the rioters stole, vandalized, and destroyed property inside and outside the U.S.

Capitol Building. They caused extensive, and in some instances, incalculable, losses. This included

wrecked platforms, broken glass and doors, graffiti, damaged and stolen sound systems and

photography equipment, broken furniture, damaged artwork, including statues and murals, historic

lanterns ripped from the ground, and paint tracked over historic stone balustrades and Capitol

Building hallways. See id; see also United States House of Representatives Curator Farar Elliott,

Statement Before the House Appropriations Subcommittee on the Legislative Branch (Feb. 24,

2021), available at https://docs.house.gov/meetings/AP/AP24/20210224/111233/HHRG-117-

AP24-Wstate-ElliottF-20210224.pdf (describing damage to marble and granite statues). As set

forth in the Statement of Offense, the attack resulted in substantial damage to the U.S. Capitol,

requiring the expenditure of nearly $1.5 million.




                                                 5
         Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 6 of 41




       B.      Defendant’s Role in the January 6, 2021 Attack on the Capitol

                                    Approach to the Capitol

       Scott Fairlamb, a one-time MMA fighter1 and gym owner, participated in the January 6

attack on the Capitol. His crimes are documented through a series of videos provided to the FBI

by concerned citizens, body worn camera from the Metropolitan Police Department, open-source

video, and surveillance footage from inside of the Capitol.

       Fairlamb traveled to Washington, D.C. from his home in New Jersey in the very early hours

of January 6. He first joined a large group of people who had gathered at the Lincoln Memorial.

From there, he made his way to the “Stop the Steal” rally and thereafter to the U.S. Capitol where

he took a photo with a U.S. Capitol Police sign that read “AREA CLOSED,” while he smiled and

gestured with his middle finger towards the camera.




1
 See SCOTT FAIRLAMB, “WILDMAN,” available at https://www.sherdog.com/fighter/Scott-
Fairlamb-70989 (last visited October 14, 2021).
                                                6
         Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 7 of 41




                                Fairlamb Ascends the Scaffolding

       Fairlamb then approached the Capitol Building and scaled the northwest scaffolding on

Capitol grounds. See Exhibit 1. The scaffolding was located at the western face of the Capitol

building. The following is a still image from Exhibit 1. Fairlamb is circled in red.




                                     Video Still from Exhibit 1

       Fairlamb took a video from that same scaffolding, which he posted to Instagram.2 This

video is submitted to the Court as Exhibit 2. In Exhibit 2, Fairlamb can be seen on the same

scaffolding at the Capitol and heard screaming “We ain’t fucking leaving either! We ain’t fucking

leaving!” The following are still images from Exhibit 2:




2
  This video was provided via a tip to the FBI. A search warrant executed on Fairlamb’s Instagram
page did not recover this video, suggesting that Fairlamb deleted it prior to service of the
preservation request.
                                                 7
         Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 8 of 41




              Still from Exhibit 2                                Still from Exhibit 2

                   Breach of the Police Line and Obtaining the Police Baton

       Several minutes later, video footage captures a large group of rioters pressing past police

attempting to hold the line at the top of the Northwest stairway on the Capitol’s Upper West

Terrace. Rioters can be seen overwhelming the outnumbered police and successfully breaking

through metal barricades as shown in the following video still:




                                                8
         Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 9 of 41




       Approximately 18 seconds later, after the skirmish line was breached, Fairlamb can be seen

crossing the former line and picking up a baton and putting it under his arm.




           Fairlamb picking up Police Baton                       Fairlamb with Baton

       After obtaining the baton, Fairlamb recorded another video,3 Exhibit 3, this one posted on


3
 This video was also submitted via a tip to the FBI tip. A search warrant executed on Fairlamb’s
Facebook account did not recover this video, suggesting that Fairlamb also deleted the video prior
                                                9
         Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 10 of 41




Facebook, where Fairlamb can be seen brandishing the collapsible baton outside of the Capitol

and yelling: “What Patriots do? We fuckin’ disarm them and then we storm the fuckin’ Capitol!”




                                         Still from Exhibit 3




to service of the preservation letter.
                                                 10
        Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 11 of 41




       Fairlamb then took a “selfie” with that same collapsible police baton:




                                  “Selfie” taken by Fairlamb

       Fairlamb later admitted that the police were firing pepper balls into the crowd.4 Far from

deterred, Fairlamb apparently found this amusing, taking a “selfie” with an undetonated pepper

ball in his mouth.




4
 Fairlamb participated in an interview with the FBI and the U.S. Attorney’s Office on September
30th per the terms of his plea agreement. See Plea Agreement ¶ 2.
                                               11
        Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 12 of 41




                                 “Selfie” taken with Pepper Ball

             Breach of the Capitol Building and Fairlamb’s Entry into the Capitol

       After the encounter with the Capitol Police Officers, Fairlamb joined the large crowd

forcing their way into the Capitol Building. Surveillance video, Exhibit 4, from inside of the

Capitol Building shows rioters smashing and entering through windows in the Capitol. Those

rioters then kick open a locked door to the Capitol, allowing in a stream of rioters.




                                                 12
          Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 13 of 41




  Still from Exhibit 4, 42 seconds prior to Fairlamb’s entry, showing rioters entering through
                                        adjacent window

         At approximately 2:14 PM, less than one minute after the Capitol Building was breached

through the window, Scott Fairlamb entered through the Senate Wing Door brandishing the police

baton.




                                       Still from Exhibit 4

                                               13
        Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 14 of 41




       Shortly thereafter, members of the Senate and the House of Representatives were forced to

evacuate. See supra. Several minutes after entering the Capitol Building, Fairlamb exited against

the incoming stream of rioters by way of the same door through which he entered.




                                       Still from Exhibit 4

                                U.S. Capitol Police Encounter

       At approximately 2:25 PM, ten minutes after exiting the Capitol Building, Fairlamb

encountered several U.S. Capitol Police officers who were attempting to prevent rioters from

entering through the Parliamentarian door.




                                               14
        Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 15 of 41




          Fairlamb speaking to U.S. Capitol Police Officers at Parliamentarian Door

       In his September 30th interview, Fairlamb claimed that he was offering these officers water

and that he then offered to help them leave that area. The officers were not wearing body worn

camera, but they were interviewed about this encounter. One officer told the FBI that a man offered

them water and offered to help them get out of the area and that that man led them around the

building towards the north door so that they could get into the building. The officer also told the

FBI that the man told other people to leave the officers alone. A second officer recalled a man

                                                15
        Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 16 of 41




walking with them as they left the area, and also recalled the man attempting to diffuse the situation

and telling protestors to leave the officers alone. A third officer recalled a white man who walked

with them as they left the area and stated that the man’s presence was not helpful as they walked

away on their own. A fourth officer had no recollection of the events described above.

       A video from a third party seems to corroborate Fairlamb’s claim as it shows Fairlamb at

the head of a line of five U.S. Capitol Police officers. Exterior camera footage from the U.S.

Capitol also corroborates Fairlamb’s claim that he lead the officers around the corner.




         Video still showing Fairlamb appearing to lead a line of Capitol Police officers

                                                 16
        Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 17 of 41




                       Assault of Metropolitan Police Department Officer

       At 2:47 PM, approximately 20 minutes after encountering the U.S. Capitol Police officers,

the defendant assaulted an MPD officer. The defendant was video-taped following and harassing

a line of MPD officers who were attempting to make their way through the thick crowd of rioters

to join a larger group of officers. As Fairlamb hurled vitriol at these officers, he shoved and then

punched Officer Z.B. in the face. A bystander captured these events on video.5 A portion of this

video will be submitted to the Court as Exhibit 5. As the Court will see, the defendant follows a

line of MPD Officers and aggressively screams at them, “Are you an American? Act like a fucking

one! . . . You guys have no idea what the fuck you’re doing!”




                                        Still from Exhibit 5

       The defendant continues to scream at the line of MPD officers and inserts himself into the

middle of their line, cutting off MPD Officer Z.B. The officer attempts to move Fairlamb out of


5
   The full high-resolution video is available at https://capitol-hill-riots.s3.us-east-
1.wasabisys.com/Miscellaneous%20-%20Other%20people%27s%20archives/1-6-
2021%20archive%20akansomi/Cop%20Vs%20The%20American%20People%21%21.mp4 (last
accessed November 3, 2021). The defendant can be seen from 3:25 to 4:00 in the full video.
                                                17
        Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 18 of 41




the way, but the defendant responds by shoving Officer Z.B. so hard that he falls into a line of

watching rioters. Fairlamb sticks his finger in Officer Z.B.’s face, and when Officer Z.B. pushes

the defendant’s hand aside, the defendant swiftly punches Officer Z.B.’s face shield. The violence

and speed of the assault is captured in Exhibit 5.

       Body worn camera of another officer captures the defendant following the line of MPD

officers while aggressively screaming “you have no idea what the fuck you’re doing[.]” That video

will be submitted to the Court as Exhibit 6.

       At :27s in Exhibit 5, the defendant can be seen shoving Officer Z.B.:




                                        Still from Exhibit 5

       At :31s in Exhibit 5, the defendant punches Officer Z.B.’s face shield.




                                                 18
        Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 19 of 41




                                       Still from Exhibit 5

       A clip from Officer Z.B.’s body worn camera footage captures the assault from Officer

Z.B.’s perspective and depicts the defendant, cutting between the MPD Officers and in front of

Officer Z.B prior to the assault. The following is a still from Officer Z.B.’s body worn camera:




                           Still from Officer Z.B.’s body worn camera




                                                19
        Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 20 of 41




                                    Defendant’s Statements

       The United States obtained search warrants for Fairlamb’s Facebook and Instagram

accounts. A review of the recovered material revealed that Fairlamb appeared to subscribe to the

QAnon conspiracy theory, that he traveled to Washington, D.C. prepared to commit violence, and

that in the days following January 6, he had no remorse for the events that occurred.

       On January 5, 2021 at 2:37 PM, prior to traveling to D.C., Fairlamb re-posted another

Facebook user’s post which pictured a tweet with a Steve Bannon quote, “All hell is going to break

loose tomorrow[,]” and the other user’s caption, “I’m here in DC and it’s nothing but Trump

supporters everywhere. Let’s roll, Patriots #fightForTrump #FightFor America[.]”




       On January 6, 2021 at 6:43 AM, the defendant posted to Facebook, “How far are you

willing to go to defend our Constitution? Made the trip solo, looking to meet my fellow Patriots

who share the same beliefs. Put up or shut up.” (emphasis added). In the aftermath of the riot of

January 6, moreover, Fairlamb alternately lied about and glorified the events of that day. The day

                                                20
          Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 21 of 41




after the riot, for example, he blamed the breach of the Capitol on “Antifa” and falsely stated that

he left the moment the doors were breached, posting on Facebook:

         What started out yesterday as an incredible showing of support and patriotism
         ended with complete and utter disrespect/disappointment. At the snap of a finger
         NON patriots (Antifa dressed as Trump supporters) literally broke down the
         doors to the Capitol building after violently clashing with police. Not myself nor
         anyone I know sees this to be of any value to our cause or ideals. While very
         passionate about my beliefs I know right from wrong and can identify who and
         what we are up against, it was and is still not the men and women that were
         there to protect our Capitol. It’s the elected officials we put inside. I appreciate
         everyone reaching out concerned for my safety. I left the moment I saw the
         doors being breached and never looked back.

         The next day, January 8, 2021, in an apparent reference to the theft of Speaker Pelosi’s

laptop on January 6, Fairlamb boasted in an Instagram message, “Wiener Biden Pelosi all laptops

in our possession[.]” On the same day, he also, recorded a video of himself,6 Exhibit 7, where he

stated “Ah, censoring our President. Bad idea. They pulled the pin on the grenade, and the blackout

is coming. What a time to be a patriot.”

         The government’s review of Fairlamb’s Instagram and Facebook accounts revealed that,

even after January 6, he subscribed to the theory that former President Trump would become the

first President of the new Republic beginning March 4. On January 9, 2021, in response to this

assertion, another Instagram user asked Fairlamb, “But what will happen with all these unhinged

liberals if this happens[?]” Fairlamb replied, “War Vs patriots” and “They don’t want that lol[.]”

Fairlamb then stated, “It’s go time” and “Q said this word for word[.]”




6
    Seized from the defendant’s cell phone.
                                                  21
        Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 22 of 41




       On January 15, 2021, the FBI attempted to interview Fairlamb about his participation in

the riot. On that day, he messaged an Instagram user, “Came here” [because] “People reported

seeing me at the Capitol[,]” an apparent reference to the FBI’s attempt to interview Fairlamb on

that day. Fairlamb then told the user, “All good[,]” and “I’d go again” (emphasis added).




       In addition to social media statements made after the riot, the defendant has a history of

violent rhetoric. On January 10, 2021, the FBI received an anonymous tip stating: “Scott Fairlamb
                                                22
        Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 23 of 41




has a history of violent threats and did participate in Stop the Steal Rally. Unfortunately he deleted

all social media accounts after riots.” The tipster then provided the following Instagram post from

Fairlamb’s Instagram account, @FairlambFit, directed at Congresswoman Cori Bush. The post

states “@coribush You’re full of shit, shoulda lit your ass up” and promotes other violent and

threatening posts directed at Congresswoman Bush, including “I wish someone would put a knee

on your neck for spreading lies. #whitelivesmatter,” “your words are going to bring you a harvest

very soon,” and “Lock n load America. When they defund they [sic] police you shoot back.”




                                     Destruction of Evidence

       The United States has been unable to locate either Exhibit 2 (Instagram video from

scaffolding) or Exhibit 3 (Facebook video with baton) in the Facebook or Instagram search warrant

returns or on Fairlamb’s seized cell phone. This is consistent with citizen tips submitted to the FBI

that stated that the inculpatory videos had since been deleted from Facebook. During his interview

with the government, Fairlamb denied destroying evidence. That denial is inconsistent with the

evidence suggesting that Fairlamb destroyed evidence after the riot. Fairlamb provided no
                                           23
           Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 24 of 41




explanation for the missing content.

                                               Injuries

          Although Officer Z.B., the assault victim in this case, reported that he did not suffer any

physical injuries, the defendant’s participation in this riot aided those rioters who did succeed in

injuring officers and destroying property. See Section II(A) (“Injuries and Property Damage

Caused by the January 6, 2021 Attach”) supra. His violent conduct served to incite and embolden

other violent rioters around him.

   III.      THE CHARGES AND PLEA AGREEMENT

          On April 7, a federal grand jury returned a superseding indictment charging the defendant

with Civil Disorder in violation of 18 U.S.C. § 231(a)(3), Obstruction of an Official Proceeding in

violation of 18 U.S.C. § 1512(c)(2), Assaulting, Resisting, or Impeding Certain Officers in

violation of 18 U.S.C. § 111(a)(1), Entering or Remaining in any Restricted Building or Grounds

with a Deadly or Dangerous Weapon in violation of 18 U.S.C. §§ 1752(a)(1) and (b)(1)(A),

Disorderly and Disruptive Conduct in a Restricted Building or Grounds in violation of 18 U.S.C.

§ 1752(a)(2), Impeding Ingress and Egress in a Restricted Building or grounds in violation of 18

U.S.C. § 1752(a)(3), Engaging in Physical Violence in a Restricted Building or Grounds in

violation of 18 U.S.C. § 1752(a)(4), Disorderly Conduct in a Capitol Building in violation of 40

U.S.C. § 5104(e)(2)(D), Impeding Passage Through the Capitol Grounds and Buildings in

violation of 40 U.S.C. § 5104(e)(2)(E), Act of Physical Violence in the Capitol Grounds or

Buildings in violation of 40 U.S.C. § 5104(e)(2)(F), Parading Demonstrating, or Picketing in a

Capitol Building in violation of 40 U.S.C. § 5104(e)(2)(G), and Stepping, Climbing, Removing,

or Injuring Property on the Capitol Grounds in violation of 40 U.S.C. § 5104(d).


                                                  24
             Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 25 of 41




            On August 6, the defendant pled guilty to Count Two, Obstruction of an Official

Proceeding in violation of 18 U.S.C. § 1512(c)(2), and Count Three, Assaulting, Resisting, or

Impeding Certain Officers in violation of 18 U.S.C. § 111(a)(1).

      IV.      STATUTORY PENALTIES

            The defendant now faces sentencing on Obstruction of an Official Proceeding in violation

of 18 U.S.C. § 1512(c)(2) and Assaulting, Resisting, or Impeding Certain Officers in violation of

18 U.S.C. § 111(a)(1).

            As noted by the plea agreement and the U.S. Probation Office, the defendant faces up to

20 years of imprisonment, a fine up to $250,000, and a term of supervised release of not more than

three years for Count Two, Obstruction of an Official Proceeding.

            As noted by the plea agreement and the U.S. Probation Office, the defendant faces up to 8

years of imprisonment, a fine up to $250,000, and a term of supervised release of not more than

three years for Count Three, Assaulting, Resisting, or Impeding Certain Officers.

      V.       THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

            As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines should

be the starting point and the initial benchmark” for determining a defendant’s sentence. Id. at 49.

The United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are “the product of careful

study based on extensive empirical evidence derived from the review of thousands of individual

sentencing decisions” and are the “starting point and the initial benchmark” for sentencing. Id. at

49.


                                                   25
        Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 26 of 41




       The revised PSR includes two errors. First, the revised PSR does not include a Guidelines

analysis for both Counts—Counts Two and Three—to which the defendant pleaded guilty. See

PSR ¶¶ 35-51. Sections 1B.1(a)(1)-(3) describe the steps a sentencing court must follow to

determine the Guidelines range, which include determining the applicable Guideline, determining

the base offense level, applying appropriate special offense characteristics, and applying any

applicable Chapter 3 adjustments. Under U.S.S.G. § 1B1.1(a)(4), the applicable Guidelines

analysis as set out in U.S.S.G. § 1B1.1(a)(1)-(3) must be “repeat[ed]” for “each count.” Only after

the Guidelines analysis as set out in U.S.S.G. § 1B1.1(a)(1)-(3) is performed, is it appropriate to

“[a]pply” the grouping analysis as set out in Chapter 3. The revised PSR does not follow these

steps. It concludes (see PSR ¶ 39) that Counts Two and Three group—a conclusion with which

the government agrees—but does not set forth the Guidelines calculation separated for each count

as required under U.S.S.G. § 1B1.1(a)(4). That Guidelines analysis follows:


       Count Two: 18 U.S.C. § 1512(c)(2)

               U.S.S.G. § 2J1.2(a)           Base Offense Level                            14
               U.S.S.G. § 2J1.2(b)(1)(B)     Threat or Physical Injury to Person
                                             or Property7                                  +8
               U.S.S.G. § 2J1.2(b)(2)        Resulted in Substantial Interference8         +3

                                                                            Total          25

7
  As described in the government’s objections to the draft PSR, the government submits that
U.S.S.G. § 2J1.2(b)(1)(B) applies because the defendant’s offense involved “threatening to cause
physical injury to a person . . . in order to obstruct the administration of justice.”
8
  The term “substantial interference with the administration of justice” as defined in the
commentary, “include[s] . . . the unnecessary expenditure of substantial governmental or court
resources.” See U.S.S.G. § 2J1.2(b)(2), Application Note 1. Fairlamb admitted that he corruptly
obstructed and impeded an official proceeding, namely the certification of the Electoral College
vote count. The riot resulted in evacuations, vote count delays, officer injuries, and nearly $1.5
million in property destruction. As described herein, law enforcement from all over the D.C.
metropolitan area responded to assist in protecting the Capitol from the rioters.
                                                26
        Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 27 of 41




       Count Three: 18 U.S.C. § 111(a)(1)

               U.S.S.G. § 2A2.2(a)9           Base Offense Level                            14
               U.S.S.G. § 3A1.2(b)            Official Victim                               +6

                                                                            Total           20

       Combined Offense Level                                                               25
       Acceptance of responsibility (U.S.S.G. §3E1.1)                                       -3

       Total Adjusted Offense Level:                                                        22

See Plea Agreement at ¶¶ 5(A).10

       The revised PSR’s second error is to include an official victim enhancement under U.S.S.G.

§ 3A1.2(a) for the offense level calculation for Count Two. See PSR ¶ 44. The PSR correctly

concludes that because the Counts group, Count Two, which has the higher base offense level,

provides the base offense level for the grouped Counts. See PSR ¶ 39 (citing U.S.S.G. § 3D1.3(a)).

As noted above, Count Three, which reflects the assault on Officer Z.B., includes a six-level victim

enhancement under U.S.S.G. 3A1.2(b). Unlike the assault reflected in Count Three, however,

obstruction of Congress as reflected in Count Two has no individual victim; the victim of

obstruction in Count Two is Congress, i.e., the government. But the government does not qualify

as a victim for purposes of the victim enhancement in U.S.S.G. § 3A1.2(a). See U.S.S.G. § 3A1.2

cmt. n. 1 (victim enhancement applies “when specified individuals” are victims, but “does not




9
  By cross-reference from U.S.S.G. § 2A2.4(c)(1) (Obstructing or Impeding Officers), which
directs that Section § 2A2.2 (Aggravated Assault) be applied if the conduct constituted aggravated
assault.
10
   Based on the facts and circumstances of Fairlamb’s case, the government does not seek
imposition of an upward departure pursuant to U.S.S.G. § 3A1.4 n.4 (see Plea Agreement at ¶5(C))
because a sentence within the Guidelines range of 41-51 months is sufficient, but not greater than
necessary, to comply with the purposes of sentencing as set forth in 18 U.S.C. § 3553(a)(2).
                                                27
            Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 28 of 41




apply when the only victim is an organization, agency, or the government”).11

           The U.S. Probation Office calculated the defendant’s criminal history as category I, which

is not disputed. PSR ¶ 56. Accordingly, based on the government’s calculation of the defendant’s

total adjusted offense level, after acceptance of responsibility, at 22, Fairlamb’s Guidelines

imprisonment range is 41 to 51 months’ imprisonment. The defendant’s plea agreement contains

an agreed-upon Guidelines range calculation that mirrors the calculation contained herein.

     VI.        SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

           In this case, sentencing is guided by 18 U.S.C. § 3553(a). Some of the factors this Court

must consider include: the nature and circumstances of the offense, § 3553(a)(1); the history and

characteristics of the defendant, id.; the need for the sentence to reflect the seriousness of the

offense and promote respect for the law, § 3553(a)(2)(A); the need for the sentence to afford

adequate deterrence, § 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct, §

3553(a)(6). In this case, as described below, all of the Section 3553(a) factors weigh in favor of a

lengthy term of incarceration.

           A.     Nature and Circumstances of the Offense

           The attack on the U.S. Capitol, on January 6, 2021 is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was one of the

only times in our history when the building was literally occupied by hostile participants. By its




11
  The PSR prepared on October 6 did not include separate Guidelines analyses for Counts Two
and Three and proposed a six-level enhancement for an official victim under U.S.S.G. § 3A.1.2(b).
Following the government’s objections, the revised PSR removed the six-level enhancement, but
added a three-level enhancement under U.S.S.G. § 3A1.2(a).
                                              28
        Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 29 of 41




very nature, the attack defies comparison to other events.

       While each defendant should be sentenced based on his or her individual conduct, each

individual person who entered the Capitol and assaulted law enforcement on January 6 did so

under the most extreme of circumstances, to which their conduct directly contributed. As a person

entered the Capitol, they would—at a minimum—have crossed through numerous barriers and

barricades, heard the throes of a mob, and smelled chemical irritants in the air. Depending on the

timing and location of their approach, in addition to their own acts of violence, they likely would

have observed other extensive fighting with law enforcement.

       While looking at the defendant’s individual conduct, we must assess such conduct on a

spectrum. This Court, in determining a fair and just sentence on this spectrum, should look to a

number of critical factors, to include: (1) whether, when, how the defendant entered the Capitol

building; (2) whether the defendant engaged in any violence or incited violence; (3) whether the

defendant engaged in any acts of destruction; (4) the defendant’s reaction to acts of violence or

destruction; (5) whether during or after the riot, the defendant destroyed evidence; (6) the length

of the defendant’s time inside of the building, and exactly where the defendant traveled; (7) the

defendant’s statements in person or on social media; (8) whether the defendant cooperated with,

or ignored, law enforcement; and (9) whether the defendant otherwise exhibited evidence of

remorse or contrition. While these factors are not exhaustive nor dispositive, they help to place

each individual defendant on a spectrum as to their fair and just punishment.

       The nature and circumstances of this defendant’s crimes weigh heavily towards a

significant term of incarceration. Fairlamb’s statements prior to the riot demonstrate that he was

prepared for violence. Upon arriving at Washington, D.C., Fairlamb posted on social media, “How


                                                29
        Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 30 of 41




far are you willing to go to defend our Constitution? . . . Put up or shut up.”

       Upon approaching the Capitol, Fairlamb unlawfully scaled the northwest scaffolding.

While there, he incited the mob and violence, screaming at the top of his lungs, “We ain’t fucking

leaving either! We ain’t fucking leaving!” See Exhibit 2. Completely undeterred by views of rioters

fighting police and pepper balls flying through the air, Fairlamb descended the scaffolding and

crossed a breached police line, obtaining a collapsible police baton in the process. On his way into

the Capitol, again surrounded by rioters, he continued to incite the mob to violence, waving the

police baton and yelling, “What Patriots do? We fuckin’ disarm them and then we storm the fuckin’

Capitol!” See Exhibit 3.

       Fairlamb was then one of the first rioters to breach the U.S. Capitol, having entered less

than 30 seconds after the Senate Wing Door was kicked open by rioters who had just smashed

through the adjacent window with a stolen riot shield and climbed through the window. When the

defendant entered the U.S. Capitol, he did so brandishing a weapon. See Exhibit 4.

       After exiting the Capitol, the defendant followed and harassed a line of dramatically out-

numbered police officers, shouting “Are you an American? Act like a fucking one! . . . You guys

have no idea what the fuck you’re doing!” at them and blocking their progress through the crowd

of hundreds of rioters. He then cut off Officer Z.B. from the line of MPD officers and violently

shoved him and punched his face shield. See Exhibits 5 and 6. As a former MMA fighter, the

defendant was well aware of the injury he could have inflicted on Officer Z.B.

       The defendant’s actions on January 6 show an absolute disregard for the rule of law coupled

with a willingness to incite and engage in violence. By his own words, he intended to “disarm

them and then [] storm the fucking Capitol!” See Exhibit 3. Fairlamb had no intention of leaving,


                                                 30
        Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 31 of 41




as evinced by his screams of “We ain’t fucking leaving either! We ain’t fucking leaving!” See

Exhibit 2. His actions show a willingness to violate the law, to engage in acts of disorder and

violence, and to harm others, including uniformed law enforcement. See Exhibit 5.

        After the riot, Fairlamb appears to have celebrated the actions of the rioters, showing no

remorse or contrition in his social media postings. Fairlamb celebrated and endorsed the theft of

Speaker Pelosi’s laptop, writing “Wiener Biden Pelosi all laptops in our possession[.]” (emphasis

added). He then created a video with a chilling threat after former President Trump was removed

from social media, stating “Ah, censoring our President. Bad idea. They pulled the pin on the

grenade, and the blackout is coming. What a time to be a patriot.” See Exhibit 7 (Emphasis added).

He then appears to be girding for war, claiming an impending “War Vs patriots” and stating, “It’s

go time[.]” Finally, and most importantly, he said the he would “go again” to the Capitol,

immediately after being visited by FBI agents investigating his participation in the riot. See

“Defendant’s Statements” supra. These statements demonstrate a total lack of remorse in the days

following the attack on the Capitol and a genuine danger of future violence from this defendant.

       Although Fairlamb denied deleting videos during his interview with the government, the

evidence clearly demonstrates that he did as Exhibits 2 and 3 – Instagram and Facebook videos

provided to the FBI through its tip line – were neither found on his seized cell phone or his seized

Instagram and Facebook accounts.

       Pursuant to the terms of his plea agreement, Fairlamb engaged in a multi-hour debrief with

the U.S. Attorney’s Office and FBI prior to his sentencing. During his interview, Fairlamb

expressed remorse. He stated that he felt great shame over his conduct on January 6. He expressed

that if given the opportunity he would sincerely apologize to the victim officer. Fairlamb expressed


                                                31
            Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 32 of 41




that he had been duped by the social media that he had consumed prior to the riot and was deeply

regretful for his conduct on January 6.

        Those post-plea sentiments, while laudable, stand in absolute and stark contrast to

Fairlamb’s statements made on social media after the riot. He recorded a video on January 8 where

he stated, “[t]hey pulled the pin on the grenade, and the blackout is coming. What a time to be a

patriot.” See Exhibit 7. On January 9, he told an Instagram user that it would be “War Vs patriots”

and that it was “go time.” See supra. Most importantly, on January 15, the defendant told an

Instagram user, “I would go again[,]” after being questioned by the FBI about his participation in

the riot.

        While Fairlamb may have attempted to assist a group of officers at one point, he proceeded

to then assault another police officer verbally and physically. The seriousness of this offense

including the defendant’s incitement of the mob violence, entry into the U.S. Capitol during the

initial breach while brandishing a weapon, and assault on a uniformed police officer, demands a

lengthy sentence of imprisonment.

        B. The History and Characteristics of the Defendant

        The defendant is a former MMA fighter who owned and operated a gym in Pompton Lakes,

New Jersey until his arrest. PSR ¶ 96. The defendant has a significant and violent history of arrest

and conviction which weighs in favor of a lengthy period of incarceration:

                 In 2002, the defendant was charged with Aggravated Assault by Attempting to
                  Cause Serious Bodily Injury. The case was “no billed.” PSR ¶ 58.

                 In 2006, the defendant was charged with and pleaded guilty to unlawful
                  possession of a handgun. He was sentenced to two years’ probation. PSR ¶ 53.

                 In December 2008, the defendant was charged with aggravated assault and
                  robbery. The case was dismissed. In this case, it was alleged that the defendant

                                                  32
        Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 33 of 41




                punched a victim in the left eye during the theft of a home entertainment system.
                ¶ 59.

               On April 3, 2009, the defendant was charged with and pleaded guilty to
                aggravated assault in Passaic County, New Jersey. In that case, the police were
                called after a bar fight erupted at a bar where Fairlamb served as a bouncer. A
                complainant stated that he was punched several times in the face by the bouncer,
                Scott Fairlamb. The defendant was sentenced to 3 years’ probation. PSR ¶ 54.

               In April 2018, the defendant was charged with Aggravated Assault. In that case,
                the complainant told police that he was smoking outside of a bar when he was
                punched by an unknown male in the throat and then struck several more times
                while on the ground by Mr. Fairlamb and at least two additional unknown males.
                The complainant stated he suffered several broken ribs and provided
                documentation of rib injuries. The assault was recorded on the bar’s surveillance
                video and the complainant later identified Mr. Fairlamb out of a line-up. Mr.
                Fairlamb pleaded guilty to simple assault. No information is available about his
                sentence. PSR ¶ 55.

       The defendant’s crimes on January 6 were not an isolated event in an otherwise law-abiding

life. They came, instead, after a long series of violent offenses. The defendant’s criminal history

demonstrates a propensity towards violence that is concerning, particularly in light of his

“wonderful” and supportive childhood in a law enforcement family. See PSR ¶¶ 64, 66. Further,

according to a tip to the FBI, the defendant has a history of violent threats, including previously

posted threatening language directed at Representative Cori Bush. See supra. The defendant’s

history and characteristics including his history of arrest and conviction for violent assaults and

history of violent rhetoric weighs heavily in favor of a lengthy term of incarceration.

       C.       The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
                and Promote Respect for the Law

       The attack on the U.S. Capitol building and grounds, and all that it involved, was an attack

on the rule of law. “The violence and destruction of property at the U.S. Capitol on January 6

showed a blatant and appalling disregard for our institutions of government and the orderly


                                                33
         Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 34 of 41




administration of the democratic process.”12 As with the nature and circumstances of the offense,

this factor supports a sentence of incarceration. Fairlamb’s criminal conduct, assaulting a law

enforcement officer and corruptly obstructing of an official proceeding, is the epitome of

disrespect for the law. When Fairlamb entered the Capitol grounds, the Capitol itself, it was

abundantly clear to him that lawmakers, and the law enforcement officers who tried to protect

them, were under siege. Law enforcement officers were overwhelmed, outnumbered, and in some

cases, in serious danger. The rule of law was not only disrespected; it was under attack that day.

A lesser sentence would suggest to the public, in general, and other rioters, specifically, that

attempts to obstruct official proceedings and assaults on police officers are not taken seriously. In

this way, a lesser sentence could encourage further abuses. See Gall, 552 U.S. at 54 (it is a

“legitimate concern that a lenient sentence for a serious offense threatens to promote disrespect for

the law”).

         D.    The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).




12
   Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight and Reform Committee (June 15, 2021) (hereinafter “FBI Director Wray’s
Statement”), available at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20Testimony.pdf
                                                 34
          Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 35 of 41




                                         General Deterrence

         A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C. ' 3553(a)(2)(B). The need to deter others is especially strong in cases involving

domestic terrorism, which the breach of the Capitol certainly was.13 The demands of general

deterrence weigh strongly in favor of incarceration, as they will for nearly every case arising out

of the violent riot at the Capitol. The violence at the Capitol on January 6 was cultivated to

interfere, and did interfere, with one of the most important democratic processes we have: the

transfer of power. As noted by Judge Moss during sentencing, in United States v. Paul Hodgkins,

21-cr-188-RDM:

         [D]emocracy requires the cooperation of the governed. When a mob is prepared to
         attack the Capitol to prevent our elected officials from both parties from performing
         their constitutional and statutory duty, democracy is in trouble. The damage that
         [the defendant] and others caused that day goes way beyond the several-hour delay
         in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70.

         The gravity of these offenses demands deterrence. This was not a protest. See id. at 46 (“I

don’t think that any plausible argument can be made defending what happened in the Capitol on

January 6th as the exercise of First Amendment rights.”). And it is important to convey to future

rioters and would-be mob participants—especially those who intend to improperly influence the

democratic process—that their actions will have consequences. There is possibly no greater factor


13
     See 18 U.S.C. § 2331(5) (defining “‘domestic terrorism’”).
                                                  35
         Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 36 of 41




that this Court must consider.

                                         Specific Deterrence

       The need for the sentence to provide specific deterrence to this particular defendant also

weighs heavily in favor of a lengthy term of incarceration. First, although the defendant has a

criminal history category of I, his history of arrest and conviction shows a clear pattern of

assaultive behavior. See Section VI(B) supra. Second, although the defendant has now expressed

remorse and contrition, his social media statements after January 6 were those of a man girding

for another battle. See United States v. Matthew Mazzocco, 1:21-cr-00054 (TSC), Tr. 10/4/2021 at

29-30 (“[The defendant’s] remorse didn’t come when he left that Capitol. It didn’t come when he

went home. It came when he realized he was in trouble. It came when he realized that large

numbers of Americans and people worldwide were horrified at what happened that day. It came

when he realized that he could go to jail for what he did. And that is when he felt remorse, and that

is when he took responsibility for his actions.”) (statement of Judge Chutkan). Fairlamb’s own

statements that he would “go again [to the U.S. Capitol]” and that by censoring President Trump,

they have “pulled the pin on the grenade, and the blackout is coming” demonstrates that this

defendant’s sentence must be sufficient to provide specific deterrence from committing future

crimes of violence, particularly in light of his history of violent assault and rhetoric.

       E.      The Importance of the Guidelines

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v. United

States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has “‘modif[ied] and


                                                  36
        Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 37 of 41




adjust[ed] past practice in the interests of greater rationality, avoiding inconsistency, complying

with congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96

(2007); 28 U.S.C. § 994(m). In so doing, the Commission “has the capacity courts lack to ‘base its

determinations on empirical data and national experience, guided by professional staff with

appropriate expertise,’” and “to formulate and constantly refine national sentencing standards.”

Kimbrough, 552 U.S. at 108. Accordingly, courts must give “respectful consideration to the

Guidelines.” Id. at 101. As the Third Circuit has stressed:

       The Sentencing Guidelines are based on the United States Sentencing
       Commission’s in-depth research into prior sentences, presentence investigations,
       probation and parole office statistics, and other data. U.S.S.G. §1A1.1, intro,
       comment 3. More importantly, the Guidelines reflect Congress’s determination of
       potential punishments, as set forth in statutes, and Congress’s on-going approval of
       Guidelines sentencing, through oversight of the Guidelines revision process. See
       28 U.S.C. § 994(p) (providing for Congressional oversight of amendments to the
       Guidelines). Because the Guidelines reflect the collected wisdom of various
       institutions, they deserve careful consideration in each case. Because they have
       been produced at Congress's direction, they cannot be ignored.

United States v. Goff, 501 F.3d 250, 257 (3d Cir. 2005). “[W]here judge and Commission both

determine that the Guidelines sentences is an appropriate sentence for the case at hand, that

sentence likely reflects the § 3553(a) factors (including its ‘not greater than necessary’

requirement),” and that Asignificantly increases the likelihood that the sentence is a reasonable

one.” Rita, 551 U.S. at 347 (emphasis in original). In other words, “the Commission’s

recommendation of a sentencing range will ‘reflect a rough approximation of sentences that might

achieve § 3553(a)’s objectives.’” Kimbrough, 552 U.S. at 89.

       Here, while the Court must balance all of the § 3553 factors to fashion a just and appropriate

sentence, the Guidelines unquestionably provide the most helpful benchmark. As this Court

knows, the government has charged a considerable number of persons with crimes based on the

                                                37
         Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 38 of 41




January 6 riot. This includes hundreds of felonies and misdemeanors that will be subjected to

Guidelines analysis. In order to reflect Congress’s will—the same Congress that served as a

backdrop to this criminal incursion—the Guidelines will be a powerful driver of consistency and

fairness moving forward.

       F.      Unwarranted Sentencing Disparities

       Finally, as to 18 U.S.C. § 3553(a)(6)—the need to avoid unwarranted sentencing

disparities—the crimes that the defendant and others like him committed on January 6 are

unprecedented. These crimes defy statutorily appropriate comparisons to other obstructive related

conduct in other cases. To try to mechanically compare other § 1512 defendants prior to January

6, 2021, would be a disservice to the magnitude of what the riot entailed and signified.

       As of the date of this sentencing memorandum, only one felony Capitol Riot defendant has

been sentenced – United States v. Paul Hodgkins, 21-cr-118-RDM. Hodgkins unlawfully entered

the U.S. Capitol and made it to the Senate Floor with a Trump flag. There, the United States

requested 18 months’ imprisonment and Hodgkins was sentenced to 8 months’ imprisonment.

Hodgkins was the first defendant to be sentenced for a violation of Section 1512(c)(2), having

taken very early responsibility for his actions, and he neither committed nor incited violence on

January 6. The facts here are dramatically different. Fairlamb armed himself with a police baton

and incited violence outside of the Capitol. He was one of the very first rioters inside of the Capitol,

and he entered the Capitol brandishing a weapon. Finally, Fairlamb’s violent assault on a police

officer during January 6 demands a significantly lengthier sentence. Accordingly, the instant

recommendation does not constitute an unwarranted sentencing disparity.




                                                  38
            Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 39 of 41




     VII.     RESTITUTION

        The Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579,

96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with discretionary

authority to order restitution to victims of most federal crimes.”14 United States v. Papagno, 639

F.3d 1093, 1096 (D.C. Cir. 2011). Generally, restitution under the VWPA must “be tied to the loss

caused by the offense of conviction,” Hughey v. United States, 495 U.S. 411, 418 (1990), identify

a specific victim who is “directly and proximately harmed as a result of” the offense of conviction,

18 U.S.C. § 3663(a)(2), and is applied to costs such as the expenses associated with recovering

from bodily injury, 18 U.S.C. § 3663(b). At the same time, the VWPA also authorizes a court to

impose restitution “in any criminal case to the extent agreed to by the parties in a plea agreement.”

See 18 U.S.C. § 3663(a)(3). United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008).

        Those principles have straightforward application here. The victim in this case, Officer

Z.B., did not suffer bodily injury as a result of Fairlamb’s assault. The parties agreed, as permitted

under 18 U.S.C. § 3663(a)(3), that Fairlamb must pay $2,000 in restitution to the Architect of the

Capitol, which reflects in part the role Fairlamb played in the riot on January 6.15 Plea Agreement

at ¶ 12. As the plea agreement reflects, the riot at the United States Capitol had caused

“approximately $1,495,326.55” in damages, a figure based on loss estimates supplied by the



14
   The Mandatory Victims Restitution Act, Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified
at 18 U.S.C. § 3663A), which “requires restitution in certain federal cases involving a subset of
the crimes covered” in the VWPA, Papagno, 639 F.3d at 1096, does not apply here. See 18 U.S.C.
§ 3663A(c)(1).
15
   Unlike under the Sentencing Guidelines for which (as noted above) the government does not
qualify as a victim, see U.S.S.G. § 3A1.2 cmt. n.1, the government or a governmental entity can
be a “victim” for purposes of the VWPA. See United States v. Emor, 850 F. Supp.2d 176, 204 n.9
(D.D.C. 2012) (citations omitted).
                                                 39
         Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 40 of 41




Architect of the Capitol in mid-May 2021. Id. Fairlamb’s restitution payment must be made to the

Clerk of the Court, who will forward the payment to the Architect of the Capitol. See PSR ¶ 141.

   VIII. FINE

   Fairlamb’s convictions under Sections 111 and 1512 subject him to a statutory maximum fine

of $250,000. See 18 U.S.C. § 3571(b)(3). In determining whether to impose a fine, the sentencing

court should consider the defendant’s income, earning capacity, and financial resources. See 18

U.S.C. § 3572(a)(1); See U.S.S.G. § 5E1.2(d). In assessing a defendant’s income and earning

capacity, a sentencing court properly considers whether a defendant can or has sought to

“capitalize” on a crime that “intrigue[s]” the “American public.” United States v. Seale, 20 F.3d

1279, 1284-86 (3d Cir. 1994).

   A fine is appropriate in this case. As the revised PSR notes, Fairlamb has raised over $30,000

in an online campaign styled as a “Patriot Relief Fund.” PSR ¶ 108a. The website indicates the

funds are to be used for mortgage payments, medical insurance, attorney fees, and monthly bills.

Id. Fairlamb should not be able to “capitalize” on his participation in the Capitol breach in this

way.

   IX.      CONCLUSION

         For the reasons set forth above, the government recommends that the Court impose a

sentence of imprisonment of 44 months, which is a mid-range sentence as calculated by the

government and as agreed upon by the parties in the plea agreement, restitution of $2,000, a fine,

and the mandatory $100 special assessment for each count of conviction.




                                               40
Case 1:21-cr-00120-RCL Document 50 Filed 11/03/21 Page 41 of 41




                            Respectfully submitted,

                            CHANNING D. PHILLIPS
                            ACTING UNITED STATES ATTORNEY




                      BY:
                            LESLIE A. GOEMAAT
                            MA Bar No. 676695
                            Assistant United States Attorney
                            Fraud Section
                            U.S. Attorney’s Office
                            555 4th Street, N.W., Room 5840
                            Washington, D.C. 20530
                            Office: 202-803-1608
                            Leslie.Goemaat@usdoj.gov

                            /s/ Gauri Gopal
                            GAURI GOPAL
                            Assistant United States Attorney
                            MA Bar No. 676695
                            555 4th Street, N.W.,
                            Washington, D.C. 20530
                            Office: 202-252-7230
                            Gauri.Gopal@usdoj.gov




                              41
